     Case 3:17-cv-06748-WHO Document 362-1 Filed 11/18/22 Page 1 of 2




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16                              UNITED STATES DISTRICT COURT

17                             NORTHERN DISTRICT OF CALIFORNIA

18                                  SAN FRANCISCO DIVISION

19

20 OWEN DIAZ,                                    Case No. 3:17-cv-06748-WHO

21                Plaintiff,                     DECLARATION OF DANIEL C. POSNER
                                                 IN SUPPORT OF DEFENDANT’S REPLY
22         v.                                    TO MOTION FOR A NEW TRIAL ON
                                                 LIABILITY AND DAMAGES
23 TESLA, INC. DBA TESLA MOTORS, INC.,

24                Defendant.                     Hearing Date: December 7, 2022
                                                 Time: 2:00 p.m.
25                                               Place: Courtroom 2, 17th Floor
                                                 Judge: Hon. William H. Orrick
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                                                                    Case No. 3:17-cv-06748-WHO
        POSNER DECL. ISO DEF’S REPLY TO MOTION FOR NEW TRIAL ON LIABILITY AND DAMAGES
     Case 3:17-cv-06748-WHO Document 362-1 Filed 11/18/22 Page 2 of 2




 1                             DECLARATION OF DANIEL C. POSNER

 2 I, Daniel C. Posner, hereby declare:

 3      1. I am a member of the State Bar of California and of this Court and am counsel for

 4 Defendant Tesla in this matter. I have personal knowledge of the facts set forth in the declaration,

 5 and if called as a witness I could and would testify competently thereto.

 6      2. I make this declaration in support of Defendant’s Reply In Support of Motion for a New

 7 Trial on Liability and Damages

 8      3. Attached hereto as Exhibit A is a true and correct copy of the transcript from the July 12,

 9 2022 Case Management Conference in this matter with the relevant excerpts highlighted.

10

11          I declare under penalty of perjury under the laws of California that the foregoing is true

12 and correct. Executed on this 18th day of November, 2022 in Los Angeles, California.

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14                                                                /s/Daniel C. Posner
                                                                  Daniel C. Posner
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         POSNER DECL. ISO DEF’S REPLY TO MOTION FOR NEW TRIAL ON LIABILITY AND DAMAGES
